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                          UNITED STATES DISTRICT COURT


                                FOR THE DISTRICT OF IDAHO


 GLORIA MITCHELL, individually and
 on behalf of all others similarly situated,

                   Plaintiff,                  Case No. 1:16-cv-00076-BLW

        v.
                                               MEMORANDUM DECISION AND
 WINCO FOODS, LLC, a Delaware                  ORDER
 limited liability company,

                   Defendant.



                                     INTRODUCTION

       Before the Court is Winco Foods LLC’s Motion to Dismiss Plaintiff’s Second

Amended Complaint. Dkt. 49. For the reasons set forth herein, the Court will GRANT

IN PART and DENY IN PART Winco’s Motion.

                            PROCEDURAL BACKGROUND

       The Court previously dismissed Plaintiff Gloria Mitchell’s First Amended

Complaint after concluding that Mitchell failed to adequately allege “concrete injury,”

thereby denying this Court jurisdiction under Article III of the Constitution. Dkt. 28.

The United States Court of Appeals for the Ninth Circuit affirmed this Court’s decision

with respect to the Article III inquiry but ordered the Court to provide Mitchell the

opportunity to amend her complaint. Dkt. 42. Mitchell subsequently filed a Second


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Amended Complaint. Dkt. 46. Apparently satisfied that the Second Amended Complaint

adequately alleged facts establishing that Mitchell has standing to pursue her claims,

WINCO has filed this motion to dismiss – alleging other grounds why the complaint

should be dismissed under Rule 12(b)(6).

                                  LEGAL STANDARD

       Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement

of the claim showing that the pleader is entitled to relief,” in order to “give the defendant

fair notice of what the ... claim is and the grounds upon which it rests.” Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007). While a complaint attacked by a Rule

12(b)(6) motion to dismiss “does not need detailed factual allegations,” it must set forth

“more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Id.

       The Supreme Court identified two “working principles” that underlie Twombly in

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). First, the court need not accept legal

conclusions that are couched as factual allegations as true; the trial court “can choose to

begin by identifying pleadings that, because they are no more than conclusions, are not

entitled to the assumption of truth.” Id. Rule 8 does not “unlock the doors of discovery

for a plaintiff armed with nothing more than conclusions.” Id. at 678-79. Second, to

survive a motion to dismiss, a complaint must state a plausible claim for relief. Id. at

679. “Determining whether a complaint states a plausible claim for relief will ... be a

context-specific task that requires the reviewing court to draw on its judicial experience

and common sense.” Id.


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                                      ANALYSIS

   1. The Fair Credit Reporting Act’s Statutory Scheme

      The Fair Credit Reporting Act provides an intricate set of requirements for

employers who seek to obtain information about their potential employees. To begin

with, the FCRA contains a clear distinction between “consumer reports” and

“investigative consumer reports.” The FCRA defines “consumer reports” as:

      any written, oral, or other communication of any information by a consumer
      reporting agency bearing on a consumer’s credit worthiness, credit standing, credit
      capacity, character, general reputation, personal characteristics, or mode of living
      which is used or expected to be used or collected in whole or in part for the
      purpose of serving as a factor in establishing the consumer’s eligibility for…
      employment purposes.

15 U.S.C. § 1681a(d)(1). The FCRA defines “investigative consumer reports” as:

      a consumer report or portion thereof in which information on a consumer’s
      character, general reputation, personal characteristics, or mode of living is
      obtained through personal interviews with neighbors, friends, or associates of the
      consumer reported on or with others with whom he is acquainted or who may have
      knowledge concerning any such items of information. However, such information
      shall not include specific factual information on a consumer’s credit record
      obtained directly from a creditor of the consumer or from a consumer reporting
      agency when such information was obtained directly from a creditor of the
      consumer or from the consumer.

15 U.S.C. § 1681a(e).

      The distinction between consumer reports and investigative consumer reports is

important when considered within the context of the disclosures required under the

FCRA. Section 1681b(b)(2)(A) provides:

      a person may not procure a consumer report, or cause a consumer report to be
      procured, for employment purposes with respect to any consumer, unless—(i) a
      clear and conspicuous disclosure has been made in writing to the consumer at any
      time before the report is procured or caused to be procured, in a document that


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       consists solely of the disclosure, that a consumer report may be obtained for
       employment purposes . . . .

(emphasis added). Unlike the disclosure requirement for consumer reports, the disclosure

requirement for investigative consumer reports does not contain a requirement that the

disclosure pertain solely to the investigative consumer report. See 15 U.S.C. § 1681d(a).

Instead, section 1681d(a) requires that:

       A person may not procure or cause to be prepared an investigative consumer
       report on any consumer unless--(1) it is clearly and accurately disclosed to the
       consumer that an investigative consumer report including information as to his
       character, general reputation, personal characteristics, and mode of living,
       whichever are applicable, may be made, and such disclosure (A) is made in a
       writing mailed, or otherwise delivered, to the consumer, not later than three days
       after the date on which the report was first requested, and (B) includes a statement
       informing the consumer of his right to request the additional disclosures provided
       for under subsection (b) of this section and the written summary of the rights of
       the consumer prepared pursuant to section 1681g(c) of this title; and (2) the person
       certifies or has certified to the consumer reporting agency that-- (A) the person has
       made the disclosures to the consumer required by paragraph (1); and (B) the
       person will comply with subsection (b).

(emphasis added). Thus, the FCRA provides for different disclosure requirements

depending upon whether the employer is seeking a consumer report or an investigative

consumer report. Critically, for purposes of this case, an employer that intends to obtain

a consumer report as it is defined in the Act must provide to prospective employee with

“a document that consists solely of the disclosure[] that a consumer report may be

obtained for employment purposes.” 15 U.S.C. § 1681b(b)(2)(A)(i). It is this language

that forms the crux of the dispute between Mitchell and Winco.

   2. The Winco Disclosure

       Specifically, Mitchell alleges that the Disclosure for Background Check



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(hereinafter, the “Winco Disclosure”) Winco provided to Mitchell “confused Mitchell

and other applicants, and stripped Mitchell and others of their respective abilities to

meaningfully authorize their reports.” Dkt. 46 at ¶ 53. The Winco Disclosure, which

Mitchell attached as Exhibit B to her Second Amended Complaint, reads as follows:

       WinCo Foods … will procure a consumer report and/or investigative consumer
       report on you in connection with your application for employment, volunteer
       service, or a contracted position, including promotion or retention as an employee,
       volunteer or independent contractor, as applicable.

       TalentWise, Inc., a consumer reporting agency, will obtain the report for the
       Company. Further information regarding TalentWise, including its privacy policy,
       may be found online at www.TalentWise.com. TalentWise is located at 19910
       North Creek Parkway, Suite 200, Bothell, WA 98011, and can be reached at
       1.866.357.4358.

       The report may contain information bearing on your character, general reputation,
       personal characteristics, mode of living and/or credit standing. The information
       that may be included in your report include: social security number trace,
       authorization to work checks, criminal records checks, civil records checks,
       financial information and credit checks (Experian U.S. Credit), federal record
       checks, public court record checks, driving records checks, drug tests, physical
       tests, educational records checks, employment history verification, references
       checks, sanction, licensing and certification checks. The information contained in
       the report will be obtained from private and/or public record sources, including
       sources identified by you in your job application or through interviews or
       correspondence with your past or present coworkers, neighbors, friends,
       associates, current or former employers, educational institutions or other
       acquaintances. You have the right, upon written request made within a reasonable
       time after receipt of this notice, to request disclosure of the nature and scope of
       any investigative consumer report from the Company.

Dkt. 46-1 at 3.

   3. Mitchell Has Plausibly Alleged that the Winco Disclosure Violates the
      Separate Disclosure Requirement in Section 1681b(b)(2)(A)(i)

       The Court disagrees with Winco’s argument that Mitchell has failed to plausibly

allege that the Winco Disclosure fails to comply with the FCRA’s statutory requirements.


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Section 1681b(b)(2)(A)(i) requires that any request for a consumer report, as it is defined

in the statute, must be “in a document that consists solely of the disclosure.” The Ninth

Circuit made clear in Syed v. M-I LLC, 853 F.3d 492, 500 (9th Cir. 2017) the word

“solely” means what it says. A disclosure that an employer is seeking a consumer report

must contain solely that information; it cannot be intermingled with additional details,

clearly written or not. See, Syed, 853 F.3d at 502 (“Whether the disclosure is “clear and

conspicuous” is irrelevant to the analysis.”).

       Here, the Winco Disclosure combines two different disclosures. It simultaneously

provides applicants with notice that that Winco will obtain both a consumer report (as it

is defined by the FCRA at section 1681a(d)(1)) and an investigative consumer report (as

it is defined by the FCRA at section 1681d(a)). This violates the FCRA’s separate

disclosure requirement.

       Winco cites to two district court decisions from this circuit which found that a

combined disclosure does not violate the statutory requirement. Walker v. Fred Meyer,

Inc., No. 3:17-CV-01791-YY, 2018 WL 2455915, at *5 (D. Or. May 7, 2018), report and

recommendation adopted in part, No. 3:17-CV- 1791-YY, 2018 WL 3090199 (D. Or.

June 21, 2018) (adopting the court’s holding regarding the disclosure) and Coleman v.

Kohl’s Dep’t Stores, Inc., No. 15-CV-02588-JCS, 2015 WL 5782352 (N.D. Cal. Oct. 5,

2015). In terms of the policy reasons underlying the statutory requirement, the Court

finds those cases persuasive. However, the Court concludes that they are inconsistent

with the unambiguous decisions of the Ninth Circuit in Syed and Gilberg v. California

Check Cashing Stores, LLC, 913 F.3d 1169 (9th Cir. 2019). In both cases, the Ninth


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Circuit concluded that adding additional information to the consumer report disclosure

violated the FCRA. Although Winco is correct that neither case involved combining just

the consumer report disclosure and the investigative consumer report disclosure–Gilberg

involved combining a waiver with the consumer report disclosure and Syed involved

combining state law with the consumer report disclosure–the logic and language of the

Ninth Circuit’s opinions apply with equal force here. The statute’s text, combined with

the Ninth Circuit’s decisions in Syed and Gilberg, foreclose Winco’s arguments that

FCRA allows employers to combine the consumer report and investigative consumer

report disclosures. See Gilberg, 913 F.3d at 1175 (“Syed considered the standalone

requirement with regard to any surplusage.” (emphasis added)). Thus, Mitchell has

adequately alleged a violation of the standalone disclosure requirement in Section

1681b(b)(2)(A)(i).1

    4. The Winco Disclosure Is Clear and Conspicuous

        Although the violation of the standalone disclosure requirement is sufficient, in

and of itself, for Mitchell’s claim to proceed, the Court will briefly add that the Winco

Disclosure meets the statute’s “clear and conspicuous” requirements. In the Ninth

Circuit, a disclosure is “clear” under the FCRA when it is “reasonably understandable.”




        1
          As suggested in this decision, I agree with my colleagues in the Walker and Coleman cases that
combining the consumer report and investigative consumer report is wholly consistent with the purpose
and intent of the FCRA. Unfortunately, it is not consistent with the statutory language. It is my
understanding that the Walker decision is currently on appeal before the Ninth Circuit. Thus, the Circuit
will soon have the opportunity to address the precise issue presented here. If the Walker decision is
affirmed – as I hope it is – WINCO can, and should, file a motion to reconsider my decision here.



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Rubio v. Capital One Bank, 613 F.3d 1195, 1200 (9th Cir. 2010).2 And a disclosure is

conspicuous when it is “noticeable to the consumer.” Gilberg, 913 F.3d at 1176 (internal

quotation and citation omitted). The Ninth Circuit has analyzed each prong separately

and has “assume[d] …, without deciding, that clarity and conspicuousness under FCRA

present questions of law rather than fact.” Id. at 1177.

       Beginning with the inquiry regarding whether the document is “clear,” the Court

acknowledges, as it has discussed above, that the Winco Disclosure impermissibly

combines the consumer report and investigative consumer report disclosures. The Ninth

Circuit in Gilberg found that the disclosure at issue was unclear because (1) “the

disclosure form contains language that a reasonable person would not understand” and

(2) “the disclosure would confuse a reasonable reader because it combines federal and

state disclosures.” Id. Thus, under Gilberg, Mitchell has successfully alleged facts

analogous to the second half of Gilberg’s test.

       But, the Winco Disclosure is distinguishable from the disclosure in Gilberg

because it does not “contain[] language that a reasonable person would not understand.”

Id. To the contrary, the Winco Disclosure, with the exception of its use of the term

“and/or,” is a model of clarity. It contains eight concise sentences that (1) indicate that

Winco will be collecting information on the applicant, (2) informs the applicant who will

be collecting the information, (3) details what and how the information will be obtained,




       2
         Although Rubio involved a Truth In Lending Act claim, the Ninth Circuit has held that lower
courts may draw upon the UCC and TILA in interpreting the FCRA. Gilberg, 913 F.3d at 1176.



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and (4) notifies the applicant that he or she has a right to request the data collected. Dkt.

46-1 at 3. All of that information is necessary to sufficiently disclose to the applicant the

scope of the data collection activity and their rights with respect to what is collected.3

Unlike the Gilberg disclosure which contained vague phrases like “all encompassing,”

Gilberg, 913 F.3d at 1177, the sole potentially ambiguous term in the Winco Disclosure

is the word “report” which was likely left intentionally undefined so as to make clear that

it covered both consumer reports and investigative consumer reports. Also, unlike the

Gilberg disclosure, there are no incomplete sentences in the Winco Disclosure. Id. Thus,

as a matter of law the Court concludes that the Winco Disclosure was “reasonably

understandable,” Rubio, 613 F.3d at 1200, and therefore “clear” under Section

1681b(b)(2)(A)(i) of the FCRA.4

        The Court also finds that the Winco Disclosure was “conspicuous” as a matter of

law pursuant to Section 1681b(b)(2)(A)(i) of the FCRA. Mitchell does not appear to


        3
           Part of my struggle with this case is that, frankly, the Winco Disclosure is a better method of
disclosure than the method put in place by Congress. Under Congress’s view, as embodied by the statute,
it is necessary to present two separate disclosures indicating that the company intends to collect a
consumer report and an investigative consumer report. As I discussed above, there is significant, but not
absolute, overlap between those two categories. Thus, prospective employees are presented with two
forms which any non-lawyer would almost certainly interpret as requesting the exact same thing.
Conversely, the Winco Disclosure neatly and concisely details the complete scope of the information that
Winco intends to obtain in one location. In short, the Winco Disclosure obviously serves the underlying
purpose of the FCRA far better than the system put in place by Congress. Fixing that issue, however, is
not up to me; I am constrained by the wisdom (or lack thereof) of Congress, as reflected in the statute.

        4
          During oral argument, counsel for Mitchell suggested that the combining of the consumer report
and investigative consumer report disclosures, by itself, created confusion. I do not agree. Both
disclosures unambiguously point in the same direction – warning the applicant that Winco would obtain
background reports, who would conduct the reports, and what rights the applicant had with regard to
those reports. Moreover, the same combined disclosure was involved in the Gilberg case, and while the
court there found that the disclosure was ambiguous and fatally unclear for other reasons, they did not
take issue with any lack of clarity created by the combining of the two disclosures.



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seriously contest this in her briefing, but for the sake of completeness the Court notes that

the Winco Disclosure is contained within a single form with a bold all caps header

labeling the document as a disclosure. Dkt. 46-1 at 3. The paragraphs sensibly break out

the different topics addressed and provide sufficient whitespace such that the Winco

Disclosure does not appear cluttered or intimidating to the reader. Id. Accordingly, the

Winco Disclosure is “conspicuous” in accordance with Section 1681b(b)(2)(A)(i).

   5. Mitchell Fails to Plausibly Allege that Winco’s Disclosure Is a Willful
      Violation of the Statutory Scheme

       Mitchell fails to adequately allege that Winco willfully violated §

1681b(b)(2)(A)(i). Paragraph 56 of Mitchell’s Second Amended Complaint contains the

information relevant to Mitchell’s allegation of willfulness. Dkt. 46. In summary,

Mitchell alleges that Winco’s failure to comply with the statute was willful because (1)

the FCRA’s disclosure requirement was unambiguous, (2) Winco is a large corporation

with sophisticated counsel, and (3) Winco had access to judicial and administrative

guidance that made it objectively unreasonable to combine the consumer report

disclosure and the investigative report disclosure. Id. at ¶ 56.

       Under the FCRA, statutory damages are allowed where the defendant “willfully

fails to comply with any requirement imposed.” § 1681n(a). A defendant acts willfully

where it either knowingly or recklessly fails to comply with an FCRA requirement.

Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 57 (2007). The United States Supreme Court

in Safeco defined the inquiry regarding recklessness in the following way:

       a company subject to FCRA does not act in reckless disregard of it unless the
       action is not only a violation under a reasonable reading of the statute’s terms, but


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        shows that the company ran a risk of violating the law substantially greater than
        the risk associated with a reading that was merely careless.

Id. at 69. In short, to obtain damages under section 1681n(a), a plaintiff must plausibly

allege that the erroneous interpretation used by the defendant was “objectively

unreasonable”5 in light (1) guidance from the judiciary, (2) guidance from the Federal

Trade Commission, and (3) the clarity of the statutory text. Alleging mere negligence is

insufficient to plausibly allege willfulness. Syed, 853 F.3d at 505. The Court decides this

issue as a matter of law. Id.

        In determining the issue of willfulness, it is significant that no district or appellate

court in the United States has held that combining just the consumer report and

investigative report disclosures into a single document violates § 1681b(b)(2)(A)(i) of the

FCRA. To the contrary, at least one district court has specifically found that combining

the two disclosures does not violate the statute. See Walker v. Fred Meyer, Inc., No.

3:17-CV-1791-YY, 2018 WL 3090199, at *2 (D. Or. June 21, 2018) appeal docketed No.

90-567 (9th Cir. July 20, 2018). Furthermore, it is persuasive that the disclosures in Syed

and Gilberg both combined the consumer report disclosure and investigative consumer

report disclosure. See Gilberg, 913 F.3d at 1178 (Disclosure included as Appendix A.);

Syed, 853 F.3d at 508 (Disclosure included as Appendix A.). In neither case did the




        5
          The Supreme Court in Safeco “did not foreclose the possibility that a party’s subjective
interpretation of the FCRA may be relevant in some circumstances.” Syed, 853 F.3d at 506 n.7 (citing
Safeco, 551 U.S. at 70 n.20). But, the Safeco decision makes clear that where an interpretation of the
FCRA that a defendant relies upon is objectively reasonable, the subjective intent of the defendant is
irrelevant. 551 U.S. at 70 n.20



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panel find that such a combination violated § 1681b(b)(2)(A)(i).6

        Guidance issued from a staff member of the Federal Trade Commission also

weighs heavily in Winco’s favor. Mitchell relied in her briefing on FTC Advisory

Opinion to Willner (Mar. 25, 1999) available at https://www.ftc.gov/policy/advisory-

opinions/advisory-opinion-willner-03-25-99. That advisory opinion did suggest that “the

surest way for an employer to comply, of course, would be to provide the [consumer

report] notice and the [investigative consumer report] notice in separate documents.” Id.

However, the advisory opinion also indicates that “we believe that an employer may

combine only a very limited [investigative consumer report disclosure] with the general

[consumer report disclosure] without running afoul of the latter section’s requirement that

the required disclosure be in a stand-alone document.” Id. Thus, Winco’s investigative

report disclosure satisfied the FTC’s guidance and interpretation of the statute, if it was

“very limited” and did not overshadow the consumer report disclosure. An employer,

positioned as Winco was in 2015, cannot be deemed to have acted willfully in

concluding, correctly or incorrectly, that the investigative report disclosure that it added

to the consumer report disclosure was “very limited” and therefore satisfied the FTC’s

guidance.

        Finally, Safeco instructs the Court to turn to the text of the statute to determine if it



        6
          The Court is mindful that Walker, Syed, and Gilberg all post-date the April 2015 time-period in
which Mitchell was provided with the Winco Disclosure. Dkt. 46 at ¶ 17. The Court refers to those
decisions not for the purpose of showing that Winco had notice that combining the disclosures was
permissible, but because they indicate that a number of courts have considered the statutory language and
concluded, directly or by implication, that doing what Winco did in this case does not violate the statute.



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was clear or, in Justice Souter’s words, “pellucid.” 551 U.S. at 70. The Court agrees

with Mitchell that the statute means what it says by including the word “solely.” But, the

weight of this word was not obvious at the time the Winco Disclosure was drafted.

Statutory interpretation is a difficult business. The fact that the Gilberg and Syed panels,

Judge Simon in Walker, and the FTC staff member concluded, explicitly or implicitly,

that the word “solely” does not preclude combining the two disclosures, assuredly

immunizes Winco from any claim that it acted willfully or recklessly in reaching the

same conclusion. At the very most, Winco’s failure to appreciate the impact of the word

“solely” could be considered negligent. Negligence, however, is insufficient to plausibly

allege willfulness. Syed, 853 F.3d at 505. Accordingly, the Court concludes as a matter

of law that Winco did not act willfully in violating the FCRA.

                                         ORDER

       IT IS HEREBY ORDERED:

          1. Winco’s Motion to Dismiss Plaintiff’s Second Amended Complaint (Dkt.

              49) is DENIED IN PART with respect to Mitchell’s claim under Section

              1681b(b)(2)(A)(i).

          2. Winco’s Motion to Dismiss Plaintiff’s Second Amended Complaint (Dkt.

              49) is GRANTED IN PART with respect to Mitchell’s claim for statutory

              damages under Section 1681n(a).

          3. Mitchell’s Motion for Leave to Conduct Discovery (Dkt. 51) is

              GRANTED. Within fourteen (14) days of the issuance of this

              Memorandum Decision and Order, the Parties will file a stipulated case


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          management order and litigation plan. In the event the Parties cannot reach

          a stipulation, they are instructed to meet and confer by telephone with the

          Court’s clerk.

       4. The Clerk of the Court is directed to administratively terminate the motion

          associated with docket entry 56. A motion appears to have been

          inadvertently created along with Winco’s opposition to Mitchell’s Motion

          for Leave to Conduct Discovery.



                                             DATED: May 9, 2019


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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